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12
                                    UNITED STATES DISTRICT COURT
13                                NORTHERN DISTRICT OF CALIFORNIA
                                       SAN FRANCISCO DIVISION
14
15   BRIANNA SINOHUI, MICHELE ARENA,                        Case No. 3:19-cv-02546-CRB
     JOSEPH BROUGHER, individually and on
16   behalf of all others similarly situated,               STIPULATION RE CONSOLIDATION OF
17                                                          ACTIONS AND APPOINTMENT OF
                             Plaintiffs,                    INTERIM CLASS COUNSEL
18          v.
19
     INTUIT INC.,
20
21                           Defendant.

22
23   ANDREW DOHRMANN, on behalf of himself                  Case No. 3:19-cv-02566-CRB
     and all others similarly situated,
24
25                           Plaintiff,
            v.
26
27   INTUIT INC.,

28                           Defendant.



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1
     DARLEEN ALLWEIN, AS ASSIGNEE OF                  Case No. 3:19-cv-02567-CRB
2    JUDITH L. HYLAND, on behalf of herself and all
3    others similarly situated,

4                         Plaintiff,
5          v.

6    INTUIT INC.,
7
                          Defendant.
8
9
     LAURA NICHOLS, individually and on behalf of     Case No. 3:19-cv-02666-CRB
10   all others similarly situated,
11
                          Plaintiff,
12         v.
13
     INTUIT INC.,
14
15                        Defendant.

16
     DENNIS KEHIAIAN, individually and on behalf       Case No. 3:19-cv-02742-CRB
17
     of all others similarly situated,
18
                          Plaintiff,
19
           v.
20
     INTUIT INC.,
21
                          Defendant.
22
23                                                     Case No. 3:19-cv-02878-CRB
     MARIA LEON, individually and on behalf of all
24   others similarly situated,
25                        Plaintiff,
26         v.
27   INTUIT INC.,
28                        Defendant.



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1              WHEREAS, there are six (6) related proposed class actions pending in the Northern District of

2    California before the Honorable Charles R. Breyer: Sinohui et al. v. Intuit Inc., No. 19-cv-02546-CRB

3    (“Sinohui”); Dohrmann v. Intuit Inc., No. 19-cv-02566-CRB (“Dohrmann”); Allwein v. Intuit, Inc.,

4    No. 19-02567-CRB (“Allwein”), Nichols v. Intuit Inc., No. 19-cv-02666-CRB (“Nichols”), Kehiaian v.

5    Intuit Inc., No. 19-cv-02742-CRB (“Kehiaian”), and Leon v. Intuit Inc., No. 19-cv-02878-CRB

6    (“Leon”) (together, the “Related Cases”);

7              WHEREAS, Plaintiffs in the Related Cases (“Plaintiffs”) allege that Intuit Inc. (“Intuit”)

8    entered into an agreement with the IRS under which it was to provide free online tax preparation and

9    filing software to certain low-income taxpayers and qualifying military service members. Plaintiffs

10   each allege that their respective adjusted gross incomes qualified them for Intuit’s free income tax

11   preparation software during the relevant time period. Plaintiffs further allege that instead of providing

12   free tax filing software, Intuit blocked the free website from online search results and steered

13   taxpayers to its paid services. Plaintiffs allege that Intuit’s conduct violated numerous laws and

14   constitutes breach of contract. Plaintiffs seek (among other things) compensation and equitable relief

15   for themselves and all other similarly aggrieved tax filers;

16             WHEREAS, Plaintiffs and Intuit, by and through their respective counsel (together, the

17   “parties”), have conferred and agree that consolidation is appropriate under Federal Rule of Civil

18   Procedure 42(a) because the Related Cases involve common questions of law or fact, specifically, the

19   cases name a common defendant, arise from the same allegedly fraudulent scheme, and assert similar

20   claims;

21             WHEREAS, Plaintiffs agree that a streamlined process for the appointment of interim class

22   counsel under Fed. R. Civ. P. 23(g)(3) will be beneficial to the effective prosecution of the class

23   claims;

24             WHEREAS, Intuit agrees that consolidation is appropriate and that an early appointment of

25   interim class counsel will be beneficial to its effective defense of these matters, and thus does not

26   oppose consolidation under Fed. R. Civ. P 42(a) or the appointment of interim class counsel, while

27   expressly reserving its right to oppose class certification or appointment of regular class counsel on

28   any grounds, including adequacy of representation under Fed. R. Civ. P 23(a) and (g);


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1           WHEREAS, Plaintiffs and Intuit agree that neither this stipulation nor any resulting

2    consolidation of these actions will waive or prejudice in any respect—and Plaintiffs will not assert

3    that consolidation or this stipulation has waived or prejudiced in any respect—Intuit’s right to enforce

4    against each Plaintiff the applicable Terms of Service for such Plaintiff, including without limitation,

5    the right to compel arbitration of any dispute or claim relating in any way to the services, and to

6    require each Plaintiff to proceed in his or her individual capacity and not in a class action;

7           WHEREAS, Plaintiffs and Intuit agree that neither this stipulation nor any resulting

8    consolidation of these actions will waive or prejudice in any respect—and Intuit will not assert that

9    consolidation or this stipulation has waived or prejudiced in any respect—Plaintiffs’ legal rights or

10   defenses to the applicability of Intuit’s Terms of Service, or to maintain class proceedings.

11          WHEREAS, the parties propose, subject to Court approval, that this action proceed on the

12   following schedule:

13         Counsel may file an application for consideration as interim class counsel. Any attorney who
14          has filed an action in this litigation is eligible to apply. All applications must be e-filed in the

15          Master File No. 3:19-cv-02546-CRB, no later than 5 p.m. Pacific Time, seven (7) calendar

16          days from the date of entry of the Court’s order approving this stipulation. Each attorney’s

17          application shall include a resume no longer than three pages and a letter no longer than three

18          pages (single-spaced) (in each case including attachments) addressing the factors set forth in

19          Rule 23(g). Counsel may file a two-page response (including attachments) no later than 5 p.m.

20          Pacific Time, three (3) business days from the filing deadline of the initial applications. The

21          Court will appoint interim counsel based on timely written submissions only;

22         Plaintiffs will file a Consolidated Complaint (“Complaint”) no later than 21 days following the
23          appointment of interim class counsel;

24         Defendant will respond to the Complaint no later than 45 days following its filing, which
25          response may consist of a motion to compel arbitration. The parties agree that if Intuit files a

26          motion to compel arbitration, Intuit may defer filing a responsive pleading or motion under

27          Federal Rule of Civil Procedure 12 until after the Court’s decision on a motion to compel

28          arbitration. If Intuit’s motion to compel arbitration is denied, the parties will stipulate to a


                                                2
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1           briefing schedule on Intuit’s motion to dismiss;

2          As directed in the Clerk’s notice of May 14, 2019, the parties will file a Joint Case
3           Management Statement on August 9, 2019. An Initial Case Management Conference is set for

4           August 16, 2019 at 8:30 AM in San Francisco, Courtroom 06, 17th Floor;

5           NOW THEREFORE, the parties through their respective counsel and subject to the Court’s

6    approval hereby stipulate that:

7            1.     The following actions pending in this District, and any other action arising out of the

8    same or similar operative facts now pending or hereafter filed in, removed to, or transferred to this

9    District shall be consolidated for all pre-trial purposes pursuant to Federal Rule of Civil Procedure

10   42(a) (hereafter the “Consolidated Action”):

11                   a.     Sinohui et al. v. Intuit Inc., No. 19-cv-02546-CRB;

12                   b.     Dohrmann v. Intuit Inc., No. 19-cv-02566-CRB;

13                   c.     Allwein v. Intuit, Inc., No. 19-02567-CRB;

14                   d.     Nichols v. Intuit Inc., No. 19-cv-02666-CRB;

15                   e.     Kehiaian v. Intuit Inc., No. 19-cv-02742-CRB; and

16                   f.     Leon v. Intuit Inc., No. 19-cv-02878-CRB.

17          Consolidation and this stipulation and order will not waive or prejudice in any respect Intuit’s

18   rights to enforce against each Plaintiff the applicable Terms of Service for such Plaintiff, including,

19   without limitation, the right to compel arbitration of any dispute or claim relating in any way to the

20   services, and to require each Plaintiff to proceed in his or her individual capacity and not in a class

21   action. Nor does consolidation and this stipulation and order waive or prejudice in any respect

22   Plaintiffs’ legal rights or defenses to the applicability of Intuit’s Terms of Service, or to maintain class

23   proceedings.

24           2.     All papers filed in the Consolidated Action must be filed under Case No. 3:19-cv-02546-

25   CRB, the number assigned to the first-filed case, and must bear the following caption:

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                  STIPULATION RE CONSOLIDATION AND APPOINTMENT OF COUNSEL
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1                                      UNITED STATES DISTRICT COURT
                                     NORTHERN DISTRICT OF CALIFORNIA
2
3            IN RE INTUIT FREE FILE LITIGATION                    Master File No. 3:19-cv-02546-CRB
4
             This Document Relates To:
5
             _____________/
6
7             3.        The case file for the Consolidated Action will be maintained under Master File No. 3:19-
8     cv-02546-CRB. When a pleading is intended to apply to all actions to which this Order applies, the
9     words “All Actions” shall appear immediately after the words “This Document Relates To:” in the
10    caption described above. When a pleading is not intended to apply to all actions, the docket number for
11    each individual action to which the paper is intended to apply and the last name of the first-named
12    plaintiff in said action shall appear immediately after the words “This Document Relates To:” in the
13    caption identified above, for example, “No. 19-cv-02566-CRB (Dohrmann).”
14            4.        The Clerk is directed to administratively close the following related cases:
15                       a.    Dohrmann v. Intuit Inc., No. 19-cv-02566-CRB;
16                       b.    Allwein v. Intuit, Inc., No. 19-02567-CRB;
17                       c.    Nichols v. Intuit Inc., No. 19-cv-02666-CRB;
18                       d.    Kehiaian v. Intuit Inc., No. 19-cv-02742-CRB; and
19                       e.    Leon v. Intuit Inc., No. 19-cv-02878-CRB.
20           5.         Any action subsequently filed, transferred or removed to this Court that arises out of the
21   same or similar operative facts as the Consolidated Action will be consolidated with it. The parties shall
22   file a Notice of Related Cases pursuant to Civil L.R. 3-12 whenever a case that should be consolidated
23   into this action is filed in, or transferred to, this District. If the Court determines that the case is related,
24   the clerk shall:
25                      a.     place a copy of this Order in the separate file for such action;
26                      b.     serve on plaintiff's counsel in the new case a copy of this Order;
27                      c.     direct that this Order be served upon defendants in the new case; and
28                      d.     make the appropriate entry in the Master Docket.


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1           6.       Intuit does not waive its right to oppose class certification or the appointment of regular

2    class counsel on any grounds, including adequacy of representation under Fed. R. Civ. P 23(a) and (g).

3            7.      Within seven (7) days of entry of an order appointing interim class counsel, such interim

4    class counsel shall submit to the Court a detailed timekeeping protocol to be followed by all counsel

5    for Plaintiffs. All Plaintiffs’ counsel shall comply with the terms thereof.

6            8.      Initial deadlines for this consolidated action are as follows: Any counsel who has filed

7    an action in this litigation may file an application for consideration as interim class counsel, no later

8    than 5 p.m. Pacific Time, seven (7) calendar days from the date of entry of the Court’s order approving

9    this stipulation. Counsel may also file a two-page response (including attachments) no later than 5

10   p.m. Pacific Time, three (3) business days from the filing deadline of the initial applications. Plaintiffs

11   will file the Complaint no later than 21 days following the appointment of interim class counsel.

12   Defendant will respond to the Complaint no later than 45 days following its filing, which response

13   may consist of a motion to compel arbitration.

14           9.      If Intuit files a motion to compel arbitration, Intuit’s time to file its responsive pleading

15   or motion under Federal Rule of Civil Procedure 12 is deferred until after the Court’s decision on a

16   motion to compel arbitration. If Intuit’s motion to compel arbitration is denied, the parties will

17   stipulate to a briefing schedule on Intuit’s Rule 12 responsive pleading or motion.

18           10.     The parties will file a Joint Case Management Statement on August 9, 2019. An Initial

19   Case Management Conference is set for August 16, 2019 at 8:30 AM in San Francisco, Courtroom 06,

20   17th Floor.

21          IT IS SO STIPULATED.

22   Dated: June 6, 2019                            /s/ Eric H. Gibbs

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                   STIPULATION RE CONSOLIDATION AND APPOINTMENT OF COUNSEL
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                STIPULATION RE CONSOLIDATION AND APPOINTMENT OF COUNSEL
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1    Dated: June 6, 2019                 /s/ Melissa L. Trotner

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                STIPULATION RE CONSOLIDATION AND APPOINTMENT OF COUNSEL
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1    Dated: June 6, 2019                          /s/ Rodger Cole

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8                                                 Attorneys for Defendant Intuit Inc.
9
10                                               ATTESTATION
11          I attest that for all conformed signatures indicated by an “/s/,” the signatory has concurred in the
12   filing of this document.
13
14   Dated: June 6, 2019                          /s/ Eric H. Gibbs
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16
17
18
19   PURSUANT TO STIPULATION, IT IS SO ORDERED.
20
21
22
23
         Date:
24                June 14, 2019
                                                        HON. CHARLES R. BREYER
25                                                      UNITED STATES DISTRICT JUDGE

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                 STIPULATION RE CONSOLIDATION AND APPOINTMENT OF COUNSEL
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